                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF IOWA
                            CEDAR RAPIDS DIVISION

 UNITED STATES OF AMERICA,
                 Plaintiff,                                No. 15-CR-46-LRR
 vs.                                                ORDER REGARDING
                                               MAGISTRATE’S REPORT AND
 DESHAUN ANDERSON,                                  RECOMMENDATION
                                                CONCERNING DEFENDANT’S
                 Defendant.                            GUILTY PLEA
                                  ____________________

                        I. INTRODUCTION AND BACKGROUND
         On September 22, 2015, a one-count Information was filed against Defendant,
DeShaun Anderson. On September 23, 2015, Defendant appeared before United States
Chief Magistrate Judge Jon S. Scoles and entered a plea of guilty to Count 1 of the
Information. On September 23, 2015, Judge Scoles filed a Report and Recommendation
in which he recommended that the court accept Defendant’s guilty plea.                    On
September 23, 2015, Defendant filed a Waiver of Objections to Report and
Recommendation. The court, therefore, undertakes the necessary review of Judge Scoles’s
recommendation to accept Defendant’s plea in this case.
                                     II. ANALYSIS
         Pursuant to statute, this court’s standard of review for a magistrate judge’s report
and recommendation is as follows:
                A judge of the court shall make a de novo determination of
                those portions of the report or specified proposed findings or
                recommendations to which objection is made. A judge of the
                court may accept, reject, or modify, in whole or in part, the
                findings or recommendations made by the magistrate judge.

28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Civil Procedure 72(b) provides for


       Case 1:15-cr-00046-LTS-MAR        Document 64      Filed 09/24/15    Page 1 of 2
review of a magistrate judge’s report and recommendation on dispositive motions and
prisoner petitions, where objections are made, as follows:
               The district judge must determine de novo any part of the
               magistrate judge's disposition that has been properly objected
               to. The district judge may accept, reject, or modify the
               recommended disposition; receive further evidence; or return
               the matter to the magistrate judge with instructions.
Fed. R. Civ. P. 72(b).
      In this case, no objections have been filed, and it appears to the court upon review
of Judge Scoles’s findings and conclusions that there is no ground to reject or modify
them. Therefore, the court ACCEPTS Judge Scoles’s Report and Recommendation of
September 23, 2015, and ACCEPTS Defendant’s plea of guilty to Count 1 of the
Information.
      IT IS SO ORDERED.
      DATED this 24th day of September, 2015.




    Case 1:15-cr-00046-LTS-MAR          Document 64     Filed 09/24/15    Page 2 of 2
